
661 So.2d 1389 (1995)
Charles Ray SANDERS, Bobbie O. Bickford, Individually and as Administratrix of the Estate of Jesse Wayne Bickford and Tutrix of the Minor Children, Brian Wayne Bickford, and Travis Dan Bickford
v.
ASHLAND OIL, INC., Asbestos Design Services, Inc., Alvin Fairburn &amp; Associates, Inc. Alvin Fairburn, Sr. Asbestos Consulting Services, Inc., Protech Environmental Services, Inc., Aetna Life &amp; Casualty, Inc., Roy Eschette, Air Monitoring Corporation, Daybrite Lighting, Inc., F.L. Industries, Inc., Regent Lighting, Inc., Abatement Technologies, Inc., Ribando Electrical Supply, IMR Corporation, Home Depot, Inc., State of Louisiana, and Southern University.
No. 95-C-1797.
Supreme Court of Louisiana.
November 3, 1995.
Denied.
